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Case Number 2023CH000035

Date: 6/7/2023 4:54 PM

Thomas McRae

Clerk of Circuit Court

Third Judicial Circuit, Madison County Illinois

IN THE CIRCUIT COURT
THIRD JUDICIAL CIRCUIT
MADISON COUNTY, ILLINOIS
GARY E. MYERS, }
)
Plaintiff, }
)
¥, 1 Case No, 2023CH000035
)
BRENDAN KELLY, in his official capacity as)
Director of the Iinois State Police, )
)
Defendant. )
COMPLAINT

Comes now Plaintiff Gary E. Myers, by and through his attorneys, Thomas G. Maag and
the Maag Law Firm, LLC. and for his complaint, states as follows:
COUNT II

1. At all times relevant, Plaintiff Gary E Myers is a citizen and resident of Madison County,
Illinois.

2. That Defendant Brendan Kelly, in his official capacity as Director of the Illinois State
Police is the Defendant.

3. That Defendant Kelly is responsible for administering all matters related to Firearms
Owners Identification Cards, and for arresting and criminally prosecuting those without
same.

4. That Plaintiff wishes to acquire and possess a firearm, for personal private self defense in
his home, and but for not having a FOID card, Plaintiff would purchase and possess such
a firearm.

5. That literally any legal and effective firearm would be acceptable to Plaintiff.
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6. In pursuant to is desired to acquire and possess a fircarm, that Plaintiff applied for a
Firearms Owners Identification Card, which was denied on May 12, 2023, on the basis
that 430 ILCS 65/8(n) prohibits issuing a FOID card to a person prohibited by any
I{linois state statute or federal law from acquiring or possessing firearms, and that there is
some allegedly relevant disqualification from South Carolina from 2017.

7. That as a proximate result of the denial of his FOID card application, Plaintiff cannot
lawfully acquire or possess firearms or ammunition in Illinois.

8. On information and belief, the South Carolina matter refers to a non-violent drug
conviction.

9. Asrecently noted by the U.S. Court of Appeals, sitting ev banc, in Range v Attorney
General, Case No. 21-2835,

A: Plaintiff is one of the people protected by the Second Amendment, and

B: The Second Amendment facially protects the right to possess and acuire a
firearm, like Plaintiff wishes to do, and

C: The Defendant cannot show that the Republic has a longstanding history
and tradition of depriving people like Plaintiff of their firearms, § 65/8(n), or any
other applicable statute, cannot constitutionally strip htm of his Second
Amendment rights.

10. That as a FOID card is required under JI linois law to possess or acquire a firearm in
Illinois, the right to a FOID card is necessarily constitutionally co-extensive with the right
to Keep and Bear Arms under the Second and 14" Amendments, otherwise, the FOID
card statute itself would be unconstitutional.

11, That Plaintiff is not a danger to himself or others, and is a law abiding citizen.
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12. That the denial of the FOID card application violates Plaintiff's Second and 14"
Amendment right.
13. That this action is brought pursuant to 42 U.S.C. 1983.
14. That as this action may relate to the Constitutionality of onc or more federal statutes, a
copy of this lawsuit has been mailed to the Attorney General of the United States.
WHEREFORE, Plaintiff Humbly requests that this Honorable court enter an order (1) ordering
Defendant to issue Plaintiff a fully valid FOID card, (2) declaring 430 ILCS 65/8
unconstitutional, as applied to Plaintiff, for such other further and different relief as allowed or

required by law for full relief, and pursuant to 42 U.S.C. 1988, for costs and attorney fees.

COUNT II
l. At all times relevant, Plaintiff Gary E Myers is a citizen and resident of Madison
County, Illinois.
2. That Defendant Brendan Kelly is the Director of the illinois State Police, and is sued

in Count I in his official capacity, in a claim challenging the constitutionality of
matters with the “state”.

3. That Defendant Kelly actually physically resides in St. Clair County.

4. That Plaintiff is not well off, is relatively poor, and suffers from a severe and
substantial physical medial condition that limits his ability to travel long distances,
such that being forced to litigate in Cook County would be a near physical
impossibility, and forcing Plaintiff to litigate in Sangamon County would impose a
substantial difficultly for Plaintiff to vindicate his rights.

5. That having been successfully sued on multiple occasions in recent years for violating

the constitutional rights of citizens of Illinois, and in violation of their oaths of office,
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the Illinois legislature and the governor of Illinois passed and enacted, upon the
governor’s signature on 6-6-2023, 735 ILCS 5/2-101.5, a copy of which is attached
hereto.

6. That the purported statute purports to limit access to the Court by citizens of Illinois,
who bring constitutional challenges to unconstitutional actions of the State of Illinois,
which, on information and belief, is designed expressly to limit Second Amendment
and related challenges to forums that the state considers cither more friendly to its
position, or sufficiently inconvenient to would be Plaintiffs to deter such actions from
being filed in the first place, and abolishes forum non conveniens for those cases, no
matter how inconvenient or inaccessible the forum is to the victim of the
constitutional violation, and no matter where the effect of the Constitutional violation
took place.

7. The basis purposes of the general venue statute, as opposed to the challenged statute,
was to provide a forum that was convenient either to the defendant, by commencing
the action near his home, or to the witnesses, by making it possible to litigate the case
where the transaction occurred. No challenge is made to the general venue statute.

8. Because venue is merely a matter of procedure, courts generally cannot interfere with
the legislature's province in determining where venue is proper (Chappelle v.
Sorenson (1957), 11 Ill.2d 472, 476, 143 N.E.2d 18), unless constitutional provisions
are violated.

9, A law fixing venue could be so arbitrary or unreasonable as to deprive defendants of

due process. (Mapes v. Hulcher (1936), 363 Il. 227, 231, 2 N.E.2d 63.)
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As noted in Chambers v. Baltimore & Ohio R.R. Co. (1907), 207 U.S. 142, 148, 28
S.Ct, 34, 35, 52 L.Ed. 143, 146 (the right to suc and defend in the courts is
foundational in our governmental system)).

In fact, one of the great crimes against the colonies of King George III, prior to the
Revolution, as noted in the Declaration of Independence was, in essence, fixing venue
in far off and inconvenient lands.

The legal rights which a litigant might seck to exercise or protect cxist only to the
extent they are enforceable through the court system. Depriving a litigant of the
opportunity to use the courts effectively makes these legal rights worthless, which is
the intent of the statute, so as to allow the state to violate the Constitution with
relative impunity.

By making forums far off and inconvenient, and with possibly no connection to the
dispute, the challenged statute substantially increases the likelihood of an inability to
bring a successful constitutional challenge, especially by the infirm and
impoverished, the weakest among us.

That the potential safeguard, a forum non conveniens motion, is foreclosed by statute.
Other than to protect the State from meritorious constitutional challenges, of which
the State in good conscience has no legitimate interest, it fails to explain the
legislature's arbitrary and sudden shift away from its established principles of venue.
It would also encourage other State agencies to evade the purposes of the general
venue statute by convincing the legislature to insert, as was done in the case at bar, a
single sentence in a statute totally unrelated to civil procedure. This would effectively

force every party sued by a State agency to "be entirely at [an agency's] mercy, since
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16.

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such an action could be made oppressive and unbearably costly" (Heldt, 329 Ill.App.
at 414, 69 N.E.2d 97), and place venue "in a faraway place where [the party] neither
resides nor carries on any kind of activitics" (American Oil Co., 133 HI-App.2d at
261, 273 N.E.2d 17).

While linois law requires that the Attorney General represent the State, as defined,
in litigation matters, the added administrative burden of requiring the AG to defend
suit in the county of the county proper under the general venue statute will indeed be
negligible.

The Attorney General has satellite offices throughout the State and routinely litigates
in every county in Illinois. The Attorney General routinely represents many State
agenctes in every county in Illinois. To require similar procedures in Constitutional
Claims would not require the office of the Attorney General to do anything it does not
already do. Each of the Attorney General's local offices is already intimately familiar
with local rules and procedures. Therefore, any argument that requiring a Plaintiff to
file suits only in counties of Cook and Sangamon would grossly inconvenience the
Attorney General has no basis in fact.

That based on the totality of the circumstances, the challenged venue statute violates
federal due process rights under the Fifth and 14" Amendments.

This action is brought pursuant to 42 U.S.C. 1983, and is brought in a venue proper
under the general venue statute, but in express and intentional violation of the void

and unconstitutional 735 ILCS 5/2-101.5.

WHEREFORE, Plaintiff requests this Honorable Court to declare 735 ILCS 5/2-1001.5(a),

unconstitutional, a violative of due process, and(1) to deny any change of venue motion
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based upon 735 ILCS 5/2-101.5, (2) to enjoin Defendant Kelly, including his successors in
office and successors in authority, and all those under his authority, from challenging the
venue of any action, or moving for a change of venue, based upon 735 ILCS 2-101.5, (3)
plus such other further and different relief as allowed by law, plus (4) and award of costs and
attorney fees pursuant to 42 U.S.C. 1988.

Dated: 6-7-2023 Respectfully Submitted,
Gary E. Myers,

s/Thomas G, Maag

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